Case 2:17-cv-08937-DMG-FFM Document 58 Filed 04/04/19 Page 1 of 3 Page ID #:1105



  1 JAMES Y. PAK (SBN 304563)
    james.pak@skadden.com
  2 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    525 University Avenue, Suite 1400
  3 Palo Alto, CA 94301
    Telephone: (650) 470-4500
  4 Facsimile: (650) 470-4570
  5 KEVIN J. MINNICK (SBN 269620)
    kevin.minnick@skadden.com
  6 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    300 South Grand Avenue, Suite 3400
  7 Los Angeles, CA 90071
    Telephone: (213) 687-5000
  8 Facsimile: (213) 687-5600
  9 P. ANTHONY SAMMI (admitted pro hac vice)
    anthony.sammi@skadden.com
 10 KURT WM. HEMR (admitted pro hac vice)
    kurt.hemr@skadden.com
 11 SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
    Four Times Square
 12 New York, New York 10036
    Telephone: (212) 735-3000
 13 Facsimile: (212) 735-2000
 14 Attorneys for Plaintiff
    Crytek GmbH
 15
 16                   IN THE UNITED STATES DISTRICT COURT
 17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 18                               WESTERN DIVISION
 19 CRYTEK GMBH,                            )   Case No. 2:17-cv-08937-DMG-FFM
                                            )
 20                           Plaintiff,    )   JOINT STIPULATION TO
                                            )   CONTINUE HEARING ON
 21              v.                         )   DEFENDANTS’ MOTION FOR
                                            )   BOND PURSUANT TO CAL.
 22 CLOUD IMPERIUM GAMES CORP.              )   CODE CIV. P. 1030
    and ROBERTS SPACE INDUSTRIES            )
 23 CORP.,                                  )
                                            )
 24                           Defendants.   )
                                            )
 25
 26
 27
 28

                      JOINT STIPULATION TO CONTINUE HEARING DATE
Case 2:17-cv-08937-DMG-FFM Document 58 Filed 04/04/19 Page 2 of 3 Page ID #:1106



  1     JOINT STIPULATION CONTINUING HEARING ON DEFENDANTS’
          MOTION FOR BOND PURSUANT TO CAL. CODE CIV. P. 1030
  2
  3         Plaintiff CRYTEK GMBH (“Plaintiff”) and Defendants CLOUD IMPERIUM
  4 GAMES CORP. and ROBERTS SPACE INDUSTRIES CORP. (“Defendants”) by
  5 and through their counsel of record, hereby agree and stipulate as follows:
  6         WHEREAS, Defendants’ Motion for Bond Pursuant to California Code of
  7 Civil Procedure, Section 1030 (“Motion for Bond”), is presently set for hearing on
  8 April 26, 2019 (see ECF No. 57);
  9         WHEREAS, Plaintiff’s opposition to the Motion for Bond is presently due
 10 April 5, 2019;
 11         WHEREAS, the parties have conferred and agree that postponing the hearing
 12 on the Motion for Bond will facilitate the complete briefing of the Motion for Bond
 13 and the parties’ ongoing efforts to resolve this matter through settlement;
 14         WHEREAS, the parties further agree that a stay of Defendants’ obligation to
 15 respond to the pending discovery is appropriate pending the resolution of the Motion
 16 for Bond;
 17         NOW, THEREFORE, the undersigned parties stipulate and agree, subject to
 18 the Court’s approval, as follows:
 19         The hearing on the pending Motion for Bond shall be continued to June 28,
 20 2019;
 21         Plaintiff’s opposition to the Motion for Bond shall be due on or before May
 22 28, 2019;
 23         Defendants’ reply in support of the Motion for Bond shall be due on or before
 24 June 7, 2019; and
 25         Defendants’ deadline to respond to the outstanding discovery shall be 30 days
 26 following the earliest of (a) Plaintiff’s compliance with an order GRANTING the
 27
 28                                            1
                      JOINT STIPULATION TO CONTINUE HEARING DATE
Case 2:17-cv-08937-DMG-FFM Document 58 Filed 04/04/19 Page 3 of 3 Page ID #:1107



  1 Motion for Bond; (b) the Court’s entry of an order DENYING the Motion for Bond,
  2 or (c) August 27, 2019.
  3
  4        IT IS SO STIPULATED.
  5
      /s/ Jeremy S. Goldman                /s/ James Y. Pak
  6 JOSEPH R. TAYLOR (SBN 129933)        JAMES Y. PAK (SBN 304563)
    jtaylor@fkks.com                     james.pak@skadden.com
  7 JEREMY S. GOLDMAN (SBN               SKADDEN, ARPS, SLATE,
    306943)                                MEAGHER & FLOM LLP
  8 jgoldman@fkks.com                    525 University Avenue, Suite 1400
    MARK R. SWIECH (SBN 311601)          Palo Alto, CA 94301
  9 mswiech@fkks.com                     (650) 470-4500
    FRANKFURT KURNIT KLEIN &             (650) 798-4570
 10 SELZ, P.C.
    2029 Century Park East, Suite 1060
 11 Los Angeles, California 90067        Attorneys for Plaintiff
    Telephone: (310) 579-9600            Crytek GmbH
 12 Facsimile: (347) 438-2156
 13 Attorneys for Defendants Cloud
    Imperium Games Corp. and Roberts
 14 Space Industries Corp.
 15
 16                                 ATTESTATION
 17        I, James Y. Pak, attest that the signatories listed above, and on whose behalf

 18 the filing is submitted, concur in the filing's content and have authorized the filing.
 19
                                                    By:   /s/ James Y. Pak
 20                                                       James Y. Pak
 21
 22
 23
 24
 25
 26
 27
 28                                             2
                      JOINT STIPULATION TO CONTINUE HEARING DATE
